                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 CANDICE R. SULFRIDGE,                                 )
                                                       )
           Plaintiff,                                  )
                                                       )
 v.                                                    )       No. 3:05-cv-188
                                                       )       (Phillips/Guyton)
 JOHN HUFF, et al.,                                    )
                                                       )
           Defendants.                                 )


                                               ORDER

           On August 29, 2008, this court granted David Wigler’s motion to withdraw as counsel

 for plaintiffs [Doc. 217]. In so doing, the court gave plaintiffs (the above-named plaintiff and

 the plaintiff in consolidated action 3:05-cv-191, Adam T. Davis) each thirty days to obtain new

 counsel or otherwise notify the court that they had elected to proceed pro se. The court

 forewarned the plaintiffs that failure to comply with this order could result in dismissal of the

 action.

           As of the date of this order, plaintiffs have not responded to the court’s order.

 Accordingly, as plaintiffs have shown no desire to prosecute this action, it is hereby

 DISMISSED.

           The clerk is directed to provide a copy of this order to counsel for all parties of record

 and to plaintiffs individually.

                  IT IS SO ORDERED.



                                        ENTER:


                                               s/ Thomas W. Phillips
                                             United States District Judge



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